_Artes;

EXHIBIT NO,
Wha
S. FAGAN

EXECUTIVE OFFICES
875 EAST STREET
TEWKSBURY, MASSACHUSETTS 01876-1495
978-851-8000

OCTOBER 13, 2005
BENEFIT CONTINUATION NOTICE

Dear JENNIFER TAPSCOTT:

This letter is to inform you that as of: OCTOBER 15, 2005, your coverage under the Demoulas Super
Markets Inc. plans will be terminating because of the following reason;
LEAVE OF ABSENCE,

in accordance with the federal law COBRA, you are eligible to elect to continue coverage under the
Demoulas Super Markets Inc. for a time period of 18 months. If you or your qualified dependents were
disabled at the time of your Qualifying Event, or become disabled within sixty days of this date, you may
be eligible for an extension of eleven more months of coverage. If you or your dependents elect to
continue coverage your benefits will be identical to the coverage provided for active employees and their
dependents.

If continuation coverage is chosen, you or your dependents are responsible for the proper premium
payment monthly,

The monthly premium cost for the INDIVIDUAL medical plan is: $324.34,
The monthly premium cost for the INDIVIDUAL dental plan is:$32.52,

You may continue coverage under the medical, dental plan only or both the medical and dental plans if
you are currently enrolled in both plans.

Ifyou wish to continue your coverage please complete the enclosed Benefit Continuation Election
Form and mail it to:

Demoulas Supermarkets Inc,

875 East Street

Tewksbury, Massachusetts 01876
Attn: Stephanie M. Messina

We must receive the Benefit Continuation Election Form, no later than: DECEMBER 20, 2005 and at
this time your right to elect continuation of benefits ceases,
EXECUTIVE OFFICES
875 EAST STREET
TEWKSBURY, MASSACHUSETTS 01876-1495
978-851-8000

BENEFIT CONTINUATION NOTICE - PAGE 2

*Please note: that your spouse and dependents (if any) are entitled io make a separate election of
continuation. If you elect to continue coverage for yourself, coverage will be continued automatically for
your covered dependents, unless they separately elect to refuse coverage. If your eligible dependents do
not reside at your home address it is your responsibility to provide correct addresses for these dependents
within 30 days of receiving this notice so that proper cobra notification can be sent to these dependents,

If continuation coverage is chosen we must receive your first premium payment no later than
FEBRUARY 3, 2006,

This premium covers'the first four months of continuation coverage. If you choose to elect less than
four months of continuation coverage or desire to pay this initial premium payment in installments please
contact our office for further arrangements.

PLEASE NOTE: Reinstatement in the cobra group occurs once either the first premium payment
is received in full on the date listed above or a portion of the first premium is received immediately
and the remainder paid consistently on a monthly basis at the beginning of each month of coverage.
We do not bill you for the monthly installments,

Your continuation coverage may be canceled before the maximum time period only for the following
reasons; The date Demoulas Super Markets Inc. ceases to provide a group health care plan for any
employee, or; your failure to pay the required premium by the due date, or; the date you become covered
under another group plan or entitled to medicare benefits if this event occurs after your cobra election
date,

If you have any questions in reference to the COBRA legislation or in completing the enclosed
Continuation Election Form, please feel free to call: (978) 851-8000 x 8352 or

Massachusetts residents: 1-800-354-1717
New Hampshire residents: 1-800-222-2685

' Stephanie M. Messina
Benefits Manager
Demoulas Super Markets Inc.
